
PER CURIAM.
Underwriters at Interest at Lloyds appeals a judgment entered following summary judgment. We reverse. The trial court erred in entering summary judgment as genuine issues of fact remain unresolved as to the proper construction of the pertinent contract provisions. Each side suggests that we construe the contract in accordance with its position. However, summary judgment is inappropriate where the contract at issue is susceptible of more than one reasonable construction. Birwelco-Montenay, Inc. v. Infilco Degremont, Inc., 827 So.2d 255 (Fla. 3d DCA 2001). Accordingly, the language of the agreement is ambiguous and presents factual issues requiring reversal.
Reversed and remanded.
